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                            IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF MISSISSIPPI


IN RE:                                                                       CHAPTER 13 CASE NO:
GLORIA M CORNELIOUS                                                                    20-12811-JDW
439 OLD HUDSONVILLE ROAD
HOLLY SPRINGS, MS 38635




                                        NOTICE TO DEBTOR


        NOTICE is hereby given that your plan payment will change from $1,038.00 monthly to
$1,061.50 monthly effective in 10/2022. The previous plan payment of $ --,---.— will be due for
00/0000.

         The reason for the changes in your plan payment is:

      ____   Due to a change in your monthly mortgage payment.

      ____   Due to a claim being filed for a different amount than scheduled.

       XX
      ____   Due to entry of an order dated 9/1/2022.

      ____   Other: _________________________________________________________________

           If you are paying by automatic draft, please be sure there are sufficient funds in your
account to satisfy the new payment.

          If you are paying via TFS, it is your responsibility to update the payment amount via the
TFS website.

           If you are paying direct, please be aware that the Trustee does not accept personal
checks. You can remit payments online through https://tfsbillpay.com or mail guaranteed funds, in
the form of a cashier’s check or money order with your case number & last name in the description
line, to:

      Locke D. Barkley, Chapter 13 Trustee
      P.O. Box 1859
      Memphis, TN 38101
Should you have any questions concerning this, please contact your attorney.

Date: September 19, 2022
                                                               Sincerely,

                                                               /s/Locke D. Barkley
                                                               Chapter 13 Trustee


CC:       SCHNELLER AND LOMENICK, P.A.
          PO BOX 417
          HOLLY SPRINGS, MS 38635
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                                  CERTIFICATE OF SERVICE

         I do hereby certify that I electronically filed the foregoing with the Clerk of Court using
the CM/ECF system, and I hereby certify that I either mailed by United States Postal Service,
first class, postage prepaid, or electronically notified through the CM/ECF system, a copy of the
above and foregoing to the Debtor, attorney for the Debtor, the United States Trustee, and other
parties in interest, if any, as identified below.


Date: September 19, 2022

                                                     /s/ Locke D. Barkley
                                                     LOCKE D. BARKLEY
                                                     CHAPTER 13 TRUSTEE
